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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Criminal No. 17-00232 (EGS)
                                            :
              v.                            :
                                            :
Michael T. Flynn,                           :
                                            :
                        Defendant.          :


                     NOTICE OF WITHDRAWAL OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney

Deborah A. Curtis is withdrawing her appearance as counsel on this case because effective

September 28, 2019, she will no longer be employed with the U.S. Department of Justice.


                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 472845


                                            By:     _______/s/__________________________
                                                    Deborah A. Curtis
                                                    Assistant U.S. Attorney
                                                    CA Bar No. 172208
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                                                    Washington, D.C. 20530
